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                      IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF KANSAS

United States of America,

                    Plaintiff,

v.                                                           Case No. 06-20142-01-JWL


Jessie Chavez-Vargas,

                    Defendant.

                                 MEMORANDUM & ORDER

      This matter is before the court on Mr. Chavez-Vargas’s motion for reduction of sentence

pursuant to 18 U.S.C. § 3582(c)(2) in which Mr. Chavez-Vargas asks the court to reduce his

sentence based on Amendment 782 to the United States Sentencing Guidelines. The motion is

granted.

      Mr. Chavez-Vargas pleaded guilty to one count of conspiracy to distribute, and possess

with the intent to distribute, 500 grams or more of a mixture of methamphetamine. At the

sentencing hearing in this case, the court determined that Mr. Chavez-Vargas had a total offense

level of 35 and a criminal history category of III. His guideline range, then, was 210-262

months imprisonment. Although the government recommended a low-end sentence of 210

months imprisonment due to its obligation in the plea agreement, the court sentenced Mr.

Chavez-Vargas to 262 months imprisonment. Mr. Chavez-Vargas is entitled to a two-level

reduction in his total offense level with a resulting amended guideline range of 168-210 months.

Despite the fact that the court sentenced Mr. Chavez-Vargas to the high end of the initial

guideline range, Mr. Chavez-Vargas now seeks a low-end guideline sentence of 168 months in
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light of the government’s recommendation at the sentencing hearing as well as Mr. Chavez-

Vargas’s post-sentencing conduct while incarcerated. The government does not oppose Mr.

Chavez-Vargas’s request which the court therefore grants.



      IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Chavez-Vargas’s

motion for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2) (docs. 178) is granted and

Mr. Chavez-Vargas’s sentence is reduced from 262 months to 168 months imprisonment.

All other provisions of the judgment dated April 25, 2007 shall remain in effect.



      IT IS SO ORDERED.



                  4th day of March, 2015, at Kansas City, Kansas.
      Dated this _____

      Effective Date: November 1, 2015.



                                                  s/ John W. Lungstrum
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                                                John W. Lungstrum
                                                United States District Judge




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